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 1
                                                   Honorable Robert S. Lasnik
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 8
                 IN THE UNITED STATES DISTRICT COURT
 9

10   FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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     ME2 PRODUCTIONS, INC.,               Case No.: C17-1077-RSL
14
             Plaintiff,                   JOINT STIPULATION OF
15
                                          VOLUNTARY DISMISSAL
16   vs.                                  WITH PREJUDICE OF
                                          ROBERT KARIUKI
17   ROBERT KARIUKI, et al.,
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             Defendants
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           JOINT STIPULATION TO DISMISS WITH PREJUDICE PURSUANT TO FRCP 41
                                         Page 1
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 1         Parties stipulate and agree that, pursuant to Federal Rule of Civil Procedure
 2   41(a)(1)(A)(ii), Plaintiff shall voluntarily dismiss its claims against Defendant in
 3   this action with prejudice, pursuant to Federal Rule of Civil Procedure
 4   41(a)(1)(A)(ii). The Parties waive any right to recover any attorneys’ fees or costs
 5   from each other in connection with the above-captioned action upon dismissal.
 6         The Parties have signed this stipulation below, by and through their respective
 7   attorneys of record.
 8

 9   Dated: June 21, 2018             Respectfully Submitted by,
10
                                       /s/ J. Curtis Edmondson
11
                                       J. Curtis Edmondson, WA SBN 43,795
12                                     Law Offices of J. Curtis Edmondson, PLLC
                                       Venture Commerce Center,
13
                                       3699 NE John Olsen Ave, Hillsboro, OR 97124
14                                     ph: (503) 336-3749
                                       Attorney for Defendant
15

16
     Dated: June 21, 2018
17

18
                                       /s/ David A. Lowe
19                                     David A. Lowe, WSBA No. 24,453
                                       LOWE GRAHAM JONES
20
                                       701 Fifth Avenue, Suite 4800 - Seattle,
21                                     Washington 98104
                                       ph: (206) 381-3300
22                                     Attorney for Plaintiff
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              JOINT STIPULATION TO DISMISS WITH PREJUDICE PURSUANT TO FRCP 41
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